                                                                           ORDER:
                                                                           Motion granted. The
                                                                           Detention Hrg and
                                                                           Arraignment are reset to
                        UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF TENNESSEE                   Dec. 14, 2012, at 2:00 pm.
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA                     )
                                             )                             U.S. Magistrate Judge
                                             )
VS.                                          )      No. 3:12-00219
                                             )      JUDGE KNOWLES
                                             )
KWAME KARIM HERROD                           )


                  MOTION TO CONTINUE DETENTION HEARING
	  
        Comes now Defendant, Kwame Karim Herrod, by and through counsel, and

hereby moves this Court to continue the detention hearing in the above-styled case for

approximately seven (7) days. For cause, Mr. Herrod would offer the following:


        1.      Mr. Herrod is currently scheduled for his detention and preliminary

hearings on December 7, 2012 at 10:00.

        2.      Unites States government is aware of this request and has no objection to

the continuance.

        3.      In the event this Court is not inclined to grant this Motion, Defendant

Herrod requests this Court to waive his detention hearing and reserves the right to move

for pretrial release at a later date.


                                        CONCLUSION

        Thus, Mr. Herrod respectfully requests a seven (7) day continuance of the

detention hearing.




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